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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

           v.                                         Crim. No. 19-CR-00018 (ABJ)

 ROGER J. STONE, JR.,

                Defendant.


        GOVERNMENT’S NOTICE REGARDING IN CAMERA SUBMISSION

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, hereby gives notice that, on June 7, 2019, the government provided the

supplemental submission requested in the Court’s June 3 Minute Order to chambers in camera.




                                                  Respectfully submitted,

                                                  JESSIE K. LIU
                                                  U.S. Attorney for the District of Columbia

                                                  By:    /s/
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